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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

ACCESS FOR THE DISABLED, INC., a Florida :
not for profit corporation, and PATRICIA :
KENNEDY, Individually,                   :
                                         :
                Plaintiffs,              :             Case No.
                                         :
v.                                       :
                                         :
GOOR GROUP, LLC, A Florida Corporation,  :
                                         :
                Defendant.               :
_______________________________________/ :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiffs, ACCESS FOR THE DISABLED, INC., a Florida Non Profit Corporation, and

PATRICIA KENNEDY, Individually, on their behalf and on behalf of all other individuals similarly

situated, (sometimes referred to as “Plaintiff” or “Plaintiffs”), hereby sue the Defendant, GOOR

GROUP, LLC, A Florida Corporation, (sometimes referred to as “Defendant”), for Injunctive Relief,

and attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act,

42 U.S.C. § 12181 et seq. (“ADA”) and Florida Accessability Code ("FAC").

1.     Plaintiff, ACCESS FOR THE DISABLED, INC., is a non-profit corporation formed under

       the laws of the State of Florida. ACCESS FOR THE DISABLED, INC. maintains its

       principal office at 1440 Coral Ridge Drive, Coral Springs, Florida, in the County of Broward.

2.     Defendant’s property, Sarasota Citgo, 2201 Bee Ridge Rd, Sarasota, Florida 34239, is

       located in the County of Sarasota.
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3.   Venue is properly located in the MIDDLE DISTRICT OF FLORIDA because venue lies

     in the judicial district of the property situs. The Defendant’s property is located in and does

     business within this judicial district.

4.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

     jurisdiction over actions which arise from the Defendant’s violations of Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

     § 2202.

5.   Plaintiff PATRICIA KENNEDY is a Florida resident, is sui juris, and qualifies as an

     individual with disabilities as defined by the ADA. PATRICIA KENNEDY has visited the

     property which forms the basis of this lawsuit and plans to return to the property to avail

     himself of the goods and services offered to the public at the property, and to determine

     whether the property has been made ADA compliant. The Plaintiff has encountered

     architectural barriers at the subject property. The barriers to access at the property have

     endangered her safety. The Plaintiff is also a member of the Plaintiff organization, ACCESS

     FOR THE DISABLED, INC., discussed below in paragraph 6.

6.   Plaintiff ACCESS FOR THE DISABLED, INC., is a nonprofit Florida corporation. Members

     of this organization include individuals with disabilities as defined by the ADA, and are

     representative of a cross-section of the disabilities to be protected from discrimination by the

     ADA. The purpose of this organization is to represent the interest of its members by assuring

     places of public accommodation are accessible to and usable by the disabled and that its

     members are not discriminated against because of their disabilities. ACCESS FOR THE

     DISABLED, INC. and its members have suffered and will continue to suffer direct and


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     indirect injury as a result of the Defendant’s discrimination until the Defendant is compelled

     to comply with the requirements of the ADA. One or more of its members has suffered an

     injury that would allow it to bring suit in its own right. ACCESS FOR THE DISABLED,

     INC. has also been discriminated against because of its association with its disabled members

     and their claims. Plaintiffs are deterred from, and are denied the opportunity to participate

     and benefit from the goods, services, privileges, advantages, facilities and accommodations

     at Defendant's property equal to that afforded to other individuals. Plaintiffs are aware that

     it would be a futile gesture to attempt to visit Defendant's property if they wish to do so free

     of discrimination.

7.   Defendant owns, leases, leases to, or operates a place of public accommodation as defined

     by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

     Defendant is responsible for complying with the obligations of the ADA. The place of public

     accommodation that the Defendant owns, operates, leases or leases to is known as Sarasota

     Citgo, 2201 Bee Ridge Rd, Sarasota, Florida 34239.

8.   ACCESS FOR THE DISABLED, INC. and PATRICIA KENNEDY have a realistic,

     credible, existing and continuing threat of discrimination from the Defendant’s non-

     compliance with the ADA with respect to this property as described but not necessarily

     limited to the allegations in paragraph 10 of this Complaint. Plaintiffs have reasonable

     grounds to believe that they will continue to be subjected to discrimination in violation of

     the ADA by the Defendant. PATRICIA KENNEDY desires to visit Saratoga Citgo not only

     to avail herself of the goods and services available at the property but to assure herself that




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      this property is in compliance with the ADA so that she and others similarly situated will

      have full and equal enjoyment of the property without fear of discrimination.

9.    The Defendant has discriminated against the individual Plaintiff and members of the

      corporate Plaintiff organization by denying them access to, and full and equal enjoyment of,

      the goods, services, facilities, privileges, advantages and/or accommodations of the

      buildings, as prohibited by 42 U.S.C. § 12182 et seq.

10.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

      violation of the ADA and FAC by failing to, inter alia, have accessible facilities by January

      26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts

      of $500,000 or less). A preliminary inspection of Saratoga Citgo has shown that violations

      exist. These violations include, but are not limited to:

      General

      The facility fails to adhere to a policy and procedure to afford goods, services, facilities,

      privileges, advantages, or accommodations to individuals with disabilities in violation of 28

      C.F.R. Part 36.302.

      The facility fails to properly maintain accessible features and equipment required to be

      readily accessible to and usable by persons with disabilities in violation of 28 C.F.R. Part

      36.211.

      Parking and Loading zone



      The facility fails to provide all accessible parking spaces on a level surface, in violation of

      Section 4.6.3 of the ADAAG whose resolution is readily achievable.


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       The facility also fails to maintain proper signage for all accessible parking spaces in violation

       of section 4.6.4 of the ADAAG whose resolution is readily achievable.

       The facility fails to provide sufficient access aisle      in violation of section 4.6.6 of the

       ADAAG whose resolution is readily achievable.

       Restrooms

       The facility fails to provide required grab bars in all restrooms in violation of Section 4.17.6

       and 4.16.4 of the ADAAG whose resolution is readily achievable.

       The facility fails to provide the proper arrangement of the toilet stall, violating section 4.16.6

       of the ADAAG, whose resolution is readily achievable.

       There is insufficient access to all essential parts of the of the restroom, required by section

       4.16.5 of the ADAAG, whose resolution is readily achievable.

       All The mirrors provided by the facility fail to meet the requirements of the of the ADAAG

       section 4.19.6 whose resolution is readily achievable.

       The American’s with Disability Act of 1990 prohibits discrimination on the basis of

       disability by public accommodations and commercial facilities to be signed, constructed and

       altered in compliance with the Accessibility Standards established in the Act. This facility

       does not meet with all of these standards.




11. The discriminatory violations described in paragraph 10 are not an exclusive list of the



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   Defendant’s ADA and FAC violations. Plaintiffs require the inspection of the Defendant’s place

   of public accommodation in order to photograph and measure all of the discriminatory acts

   violating the ADA and FAC and all of the barriers to access. The individual Plaintiff, the

   members of the Plaintiff group, and all other individuals similarly situated, have been denied

   access to, and have been denied the benefits of services, programs and activities of the

   Defendant’s buildings and its facilities, and have otherwise been discriminated against and

   damaged by the Defendant because of the Defendant’s ADA and FAC violations, as set forth

   above. The individual Plaintiff, the members of the Plaintiff group and all others similarly

   situated will continue to suffer such discrimination, injury and damage without the immediate

   relief provided by the ADA and FAC as requested herein. In order to remedy this discriminatory

   situation, the Plaintiffs require an inspection of the Defendant’s place of public accommodation

   in order to determine all of the areas of non-compliance with the Americans with Disabilities

   Act.

12. Defendant has discriminated against the individual and corporate Plaintiffs by denying them

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

   discriminate against the Plaintiff, and all those similarly situated by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to

   afford all offered goods, services, facilities, privileges, advantages or accommodations to

   individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

   that no individual with a disability is excluded, denied services, segregated or otherwise treated


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   differently than other individuals because of the absence of auxiliary aids and services.

13. Plaintiffs are without adequate remedy at law and are suffering irreparable harm. Plaintiffs have

   retained the undersigned counsel and are entitled to recover attorney’s fees, costs and litigation

   expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14. Defendant is required to remove the existing architectural barriers to the physically disabled

   when such removal is readily achievable for its place of public accommodation that have existed

   prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an alteration

   to Defendant’s place of public accommodation since January 26, 1992, then the Defendant is

   required to ensure to the maximum extent feasible, that the altered portions of the facility are

   readily accessible to and useable by individuals with disabilities, including individuals who use

   wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one which was designed

   and constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR

   36.401, then the Defendant’s facility must be readily accessible to and useable by individuals

   with disabilities as defined by the ADA.

15. Notice to Defendant is not required as a result of the Defendant’s failure to cure the violations

   by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

   receipts of $500,000 or less). All other conditions precedent have been met by Plaintiffs or

   waived by the Defendant.

16. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs Injunctive

   Relief, including an order to require the Defendant to alter Saratoga Citgo to make those facilities

   readily accessible and useable to the Plaintiffs and all other persons with disabilities as defined

   by the ADA; or by closing the facility until such time as the Defendant cures its violations of the


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   ADA.

WHEREFORE, Plaintiffs respectfully request:

   a. The Court issue a Declaratory Judgment that determines that the Defendant at the

      commencement of the subject lawsuit is in violation of Title III of the Americans with

      Disabilities Act, 42 U.S.C. § 12181 et seq. and FAC.

   b. Injunctive relief against the Defendant including an order to make all readily achievable

      alterations to the facility; or to make such facility readily accessible to and usable by

      individuals with disabilities to the extent required by the ADA and FAC; and to require the

      Defendant to make reasonable modifications in policies, practices or procedures, when such

      modifications are necessary to afford all offered goods, services, facilities, privileges,

      advantages or accommodations to individuals with disabilities; and by failing to take such

      stops that may be necessary to ensure that no individual with a disability is excluded, denied

      services, segregated or otherwise treated differently than other individuals because of the

      absence of auxiliary aids and services.

   c. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

   d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

      the Americans with Disabilities Act.

                                     Respectfully Submitted,

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